Case 2:04-cr-20374-.]PI\/| Document 55 Filed 04/25/05 Page 1 of 3 Page|D 76

IN THE UNITED STATES DlSTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05:?,

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UNITED STATES OF AMERICA
Plaintiff,

Criminal No. _`Z".'Q ‘f~ 420 5 7Z Ml

(30-Day Continuance)

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`_¢`_,`_,`_,`_,\_,`_JVVVVWWWV~_,V-_/`_/~_,¢

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation Calendar, but is now RESET for report at Q¢QQ
a.m. on Fridav, Mav 27, 2005, With trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy

Trial Act through June 17, 2005. Agreed in open court at report
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date this 22nd day of April, 2005.

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SO ORDERED this 22nd day Of April, 2005.

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JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

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Assistant United States Attorney

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Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 55 in
case 2:04-CR-20374 Was distributed by faX, mail, or direct printing on
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US DISTRICT COURT

